Case 2:23-cv-20787-MEF Document 3 Filed 11/08/23 Page 1 of 2 PageID: 161
    Case 2:23-cv-20787-MEF Document 3 Filed 11/08/23 Page 2 of 2 PageID: 162




        APPEARING that to date, Appellants have not filed a designation of record in this matter,

nor applied for an extension of time to do so; and it further

        APPEAIUNG that "[a]n appellant's failure to take any step other than the timely filing of

a notice of appeal [as of right] does not affect the validity of the appeal, but is ground only for the

district court ... to act as it considers appropriate, including dismissing the appeal." Fed. R. Bankr.

P. 8003(a)(2).

       Therefore, for the foregoing reasons, and for good cause shown,

       IT IS on this 8th day of November 2023,
       ORDERED that Appellants must file a designation of record, or seek leave for an

extension of time to do so, by December 5, 2023; and it is further

       ORDERED that the Clerk of the Court shall serve this Order upon Appellants by regular

and certified mail return receipt.



       The Appellants shall take notice: if they do not comply with the December 5 deadline set

out above, the Court may dismiss this case.




                                               Michael E. Farbiarz, U.S.D.J.




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